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  18 FORD MOTOR COMPANY
  19                       UNITED STATES DISTRICT COURT
  20                      CENTRAL DISTRICT OF CALIFORNIA
  21 IN RE: FORD MOTOR CO. DPS6              Case No. 2:18-ML-02814 AB (FFMx)
     POWERSHIFT TRANSMISSION
  22 PRODUCTS LIABILITY                      Assigned to: Judge Andre Birotte, Jr.
                                             Courtroom 7B
  23 LITIGATION
  24 _______________________________ JOINT STIPULATION REGARDING
     THIS DOCUMENT RELATES              AMENDED SCHEDULE FOR IDP
  25 ONLY TO:                           TRIAL CASES
  26
     Brown, Christi v. Ford Motor
  27 Company, et al., 2:18-cv-04190-AB-
     FFM; Pedante, Mark v. Ford Motor
  28 Company, 2:18-cv-04190-AB-
                                                  JOINT STIPULATION RE SCHEDULE
                                                             Case No. 2:18-ML-02814 AB - FFM
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    1 FFM;Quintero Yvonne v. Ford Motor
      Company, et al., 2:18-cv-01912-AB-
    2 FFM;Cannon, Mary v. Ford Motor
    3 Company, et al. 2:18-cv-04817-AB-
      FFM
    4
    5
                This Stipulation is entered by and between Plaintiffs and Defendant Ford
    6
        Motor Company, by and through their respective counsel:
    7
                Whereas, this Court agreed to extend the discovery deadline to May 29, 2019,
    8
        for all cases in the Initial Disposition Pool;
    9
                Whereas, this Court ordered the parties during the March 6, 2019 status
  10
        conference to submit a stipulation and Proposed Order regarding the remaining
  11
        deadlines for the four trial picks;
  12
                IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs
  13
        and Ford Motor Company that the following pre-trial schedule be adopted by the
  14
        Court for the IDP trial cases:
  15
        Event                         Current Deadlines         Parties’     Proposed
  16                                                            Deadlines
  17 Fact Discovery Cut-off           March 29, 2019            May 29, 2019
     (all IDP cases)
  18
     Plaintiffs’         Expert       April 26, 2019            June 19, 2019
              1
  19 Reports (trial cases only)
     Ford’s Expert Reports            May 22, 2019              July 12, 2019
  20
     (trial cases only)
  21 Expert Discovery Cutoff          July 10, 2019             August 23, 2019
  22 (trial cases only)
     Dispositive and Daubert          July 31, 2019             September 4, 2019
  23 Motions (trial cases only)
  24 Oppositions              to      August 30, 2019           September 27, 2019
     Dispositive and Daubert
  25 Motions (trial cases only)
  26    1
       The law firm of Consumer Legal Remedies,
                                            1      APC seeks a simultaneous expert
  27 report exchange among the parties and objects to Ford having a later deadline to
  28 submit said reports.                               JOINT STIPULATION RE SCHEDULE
                                                                  Case No. 2:18-ML-02814 AB - FFM
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    1 Replies to Dispositive and September 20, 2019         October 11, 2019
      Daubert Motions (trial
    2
      cases only)
    3 Hearing on Dispositive October 4, 2019                October 25, 2019
    4 and Daubert Motions
      (trial cases only)
    5
    6        IT IS SO STIPULATED.
    7
    8
    9 Dated: April 3, 2019                KIESEL LAW LLP
  10                                       By: /s/ Paul R. Kiesel
  11                                       Paul R. Kiesel
                                           Jeffrey A. Koncius
  12                                       Stephanie Taft
  13
                                           Lead/Liaison Counsel for Plaintiffs
  14
  15 Dated: April 3, 2019                 SHOOK HARDY & BACON, LLP
  16
  17                                   By: /s/ Amir Nassihi
                                          Amir Nassihi
  18
                                          GORDON REES
  19                                      SCULLY MANSUKHANI, LLP
                                          Spencer P. Hugret
  20                                      Molly J. Mrowka
  21                                      DYKEMA GOSSETT PLLC
                                          John M. Thomas
  22
                                          Lead Counsel for Defendant
  23                                      FORD MOTOR COMPANY
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  28                                                       JOINT STIPULATION RE SCHEDULE
                                                               Case No. 2:18-ML-02814 AB - FFM
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    1           ATTESTATION PURSUANT TO LOCAL RULE 5-4.3.4(a)(2)(i)
    2
              I, Amir Nassihi, am the ECF User whose identification and password are
    3
        being used to file this document.          In compliance with Civil Local Rule 5-
    4
        4.3.4(a)(2)(i), I hereby attest that all signatories have concurred in this filing.
    5
    6                                            By: /s/ Amir Nassihi
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  28                                                               JOINT STIPULATION RE SCHEDULE
                                                                       Case No. 2:18-ML-02814 AB - FFM
